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                                                      United States Courts Southern
                                                             District of Texas
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                                                      EĂƚŚĂŶKĐŚƐŶĞƌ, Clerk of Court




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